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States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: January 26, 2022




                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                         EASTERN DIVISION AT COLUMBUS

In re:                                   )       Case No. 18-57442
                                         )
JOHN A. ROSS,                            )       Chapter 13
                                         )
                     Debtor.             )       Judge Preston
____________________________)
Creditor: U.S. Bank National Assoc., et al.)
Servicer: SN Servicing Corporation       )
Address:                                 )
323 Fifth Street                         )
Eureka, CA 95501                         )


                    STIPULATION AND AGREED
  ORDER SUSTAINING OBJECTION OF UNITED STATES TRUSTEE TO
CLAIM OF U.S. BANK TRUST NATIONAL ASSOC., et al. (Claim No. 6-1) and
      RELATED NOTICE OF PAYMENT CHANGE (Docket No. 73)
                    (Objection at Docket No. 74)

         This case came on for consideration upon the United States Trustee’s Objection
to the Claim of U.S. Bank Trust, N.A., et al., by and through its mortgage loan servicer
SN Servicing Corporation, (collectively as “Claimant”)(Docket No. 74, Claim No. 6-1),
and the related Notice of Payment Change (Docket No. 73).
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      The parties enter into the following Stipulations:
      1. Debtor filed his Petition on November 27, 2018 (Docket No. 1);
      2. Debtor’s Amended Chapter 13 Plan (Docket No. 39) was confirmed on July 9,
         2019 (Docket No. 42).
      3. On February 5, 2019, Claimant filed a Proof of Claim (“POC”) asserting an
         arrearage claim in the total amount of $23,106.62. The POC provides that the
         claim is based on money loaned and secured by real property which serves as
         Debtor’s primary residence.    Of that amount, $12,793.97 is claimed as an
         escrow deficiency for funds advanced, and $5,258.78 is claimed as an escrow
         shortage (for an aggregate of $18,322.75)(see, Court Claims Register, Claim
         No. 6-1, page 4).
      4. On December 1, 2021, Claimant filed a Notice of Mortgage Payment Change
         (“NPC”) that increases Debtor’s escrow payment from $861.91 per month to
         $1,239.53 per month (see, Docket No. 73, page 1). Of that $1,239.53 proposed
         escrow payment, $171.42 is for a “shortage amount” designed to repay the
         proposed escrow shortage of $8,244.61 over 48 months (see, Docket No. 73,
         pages 5 and 6).
      5. Claimant did not file an NPC for the escrow cycle years of 2019 and 2020.
         Escrow adjustments for those escrow cycle years were not properly noticed.
         Therefore, it is unknown how much of the proposed escrow shortage of
         $8,224.61 was carried over from those years to this most recent escrow
         analysis cycle.
      6. Further, review of the escrow analysis attached to the NPC suggests that
         Claimant did not credit Debtor for at least a portion of pre-petition escrow to
         be repaid via the POC.
      7. The U.S. Trustee filed his Objection on December 7, 2021, alleging potential
         irregularities in the Notice (Docket No. 74). Claimant filed its Response on
         December 10, 2021 (Docket No. 75).
      8. This Court issued a Notice of Hearing scheduling hearing for January 14,
         2022 (Docket No. 76).
      9. After communication of the parties, this Agreed Order is full resolution with
         the following terms:
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              a. This Agreed Order withdraws Claimant’s Notice of Mortgage Payment
                 Change filed December 1, 2021 (Docket No. 73);
              b. Claimant asserts Debtor’s monthly mortgage payment effective March
                 1, 2022, is the following:
                     •    $263.27 for principal and interest
                     •    $1,068.39 for escrow
                     •    $1,331.66 TOTAL MONTHLY PAYMENT
              c. The proposed escrow shortage on the NPC in the amount of $8,214.61
                 is disallowed;

              d. Claimant shall adjust its records to reflect the reduction; and
              e. Claimant shall rerun an escrow analysis consistent with the objection
                 herein.

       In light of the foregoing Stipulations, the Court finds this Agreed Order well
taken. Good cause appearing, therefore:
       IT IS HEREBY ORDERED that the U.S. Trustee’s Objection is SUSTAINED
consistent with the terms of this Agreed Order.
       IT IS FURTHER ORDERED that the escrow shortage of $8,214.61 described
in the Notice is specifically waived by Claimant.
       IT IS FURTHER ORDERED that with waiver of escrow shortage, recompense
of said sum will never be sought from the Debtor by Claimant at any time in the future.
       IT IS FURTHER ORDERED that Debtor’s escrow account is now in balance
and Debtor’s monthly escrow payment effective February 1, 2022, in the amount of
$1,068.39 is equal to the base amount (estimated taxes, insurance and any other
escrowed items disbursed in the aggregate amount of $12,820.68, divided by 12
months). Debtors’ new total monthly payment is $1,331.66 ($263.27 for principal and
interest, and $1,068.39 for escrow) effective March 1, 2022.
       IT IS FURTHER ORDERED that Claimant’s Notice of Mortgage Payment
Change (Docket No. 73) is WITHDRAWN.
       IT IS FURTHER ORDERED that Claimant shall file a Notice of Mortgage
Payment Change consistent with the terms in this Order by February 7, 2022, in order
to be effective March 1, 2022.
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      IT IS FURTHER ORDERED that Claimant shall update its internal records
consistent with the terms of this Order.
       IT IS SO ORDERED.

SUBMITTED BY:

Andrew R. Vara
United States Trustee for Regions 3 and 9

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